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U.S. District Court, E.D.N.Y.
c/o United States Courthouse, Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201-1818

                 Re: United States v. Lax(Contempt Fine/Martin Ehrenfeld)
                    (18-cv-4061)(ILG)

Dear Sirs:

      I write to you in my capacity as counsel for the non-party witness Martin
Ehrenfeld to enclose the $5,000 payment ordered by Senior U.S. District Judge I. Leo
Glasser last Wednesday(payment enclosed). As you will note, I am copying Judge
Glasser's chambers on this letter, as well as Government counsel. I thank you in advance
for your anticipated cooperation in processing the payment pursuant to, and consistent
with Judge Glasser's order, as reflected on case docket entry 361.


                                    Very truly yours.




                                     Rog^ Bennet Adler
                                     Attorneyfor Non-Party Witness Martin Ehrenfeld
RBA/gr

Cc:

      ist
        Class Mail                                      Via EOF
 on. I. Leo Glasser                                     Samuel P. Jones, Esq.
c/o United States Courthouse, E.D.N.Y.                  c/o U.S. Dept. of Justice
225 Cadman Plaza East
Brooklyn, New York 11201-1818                           Via email
                                                        Mr. Martin Ehrenfeld
